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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov

In re:
                                                                           Case No.: 16-20229-LMI
                                                                                        Chapter 13
ARNOLD MICHEL,

      Debtor.
_______________________/

              MOTION TO COMPEL DEBTOR TO FILE A MODIFIED PLAN

         ANY INTERESTED PARTY WHO FAILS TO FILE AND SERVE A
         WRITTEN RESPONSE TO THIS MOTION WITHIN 14 DAYS AFTER
         THE DATE OF SERVICE STATED IN THIS MOTION SHALL,
         PURSUANT TO LOCAL RULE 4001-1(C), BE DEEMED TO HAVE
         CONSENTED TO THE ENTRY OF AN ORDER GRANTING THE
         RELIEF REQUESTED IN THE MOTION.

         Secured Creditor, BSI FINANCIAL SERVICES, AS SERVICING AGENT FOR

HMC ASSETS, LLC, SOLELY IN ITS CAPACITY AS SEPARATE TRUSTEE OF

COMMUNITY DEVELOPMENT FUND II TRUST, (“BSI” or “Secured Creditor”), by and

through its undersigned attorney, hereby files this Motion to compel Debtor to file a Modified

Chapter 13 Plan. In support of its Motion, Creditor states as follows:

         1.    On July 26, 2016 (the “Petition Date”), the Debtor filed its Voluntary Petition

under Chapter 13 of the United States Bankruptcy Code [D.E. 1].

         2.    On August 19, 2016, Debtor filed an Ex-Parte Verified Motion for Referral to

Mortgage Modification Mediation [D.E. 21] with original lender Ditech Financial, LLC.

         3.    On August 22, 2016, the Debtor filed its Chapter 13 Plan (D.E. 12].

         4.    On August 24, 2016, the Court entered the Order Granting Debtor’s Verified

Motion for Referral to Mortgage Modification Mediation [D.E. 26].
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       5.      On October 31, 2016, the Debtor filed its First Amended Chapter 13 Plan (the

“Plan”)

       6.      On November 14, 2016, the Court entered the Order Confirming First Amended

Plan [D.E. 42].

       7.      On March 29, 2017, mediator Betsy F. Yegewel (the “Meditaor”) filed a Final

Report of Loss Mitigation/Mortgage Modification Mediator [D.E. 48] (the “Final Report”).

       8.      On April 19, 2017, the Debtor filed a Renewed Ex-Parte Verified Out of Time

Motion for Referral to Mortgage Modification Mediation [D.E. 49](the “Renewed Motion”)

seeking yet another order directing mortgage modification mediation.

       9.      On April 26, 2017, the Court entered the Order Granting the Renewed Verified

Motion for Referral to Mortgage Modification Mediation [D.E. 51] (the “Second MMM Order”).

       10.     On December 4, 2017, seven (7) months after entry of the Second MMM Order

and only upon Secured Creditor seeking to vacate the Second MMM Order did the Debtor finally

launch/open the MMM portal for loan modification mediation. Thereafter, Secured Creditor and

the Debtor actively engaged in mortgage modification mediation.

       11.     On May 30, 2018, upon completing its review of the financial loan modification

package submitted, a mortgage modification denial letter was issued to the Debtor (the “Denial

Letter”). A true and correct copy of the Denial Letter is attached hereto at Exhibit “A”.

       12.     Subsequent to the issuance of the Denial Letter, a mediation conference was still

   scheduled and conducted on July 6, 2018 and resulted in the parties not reaching an agreement.

       13.     On June 11, 2018, mediator Betsy F. Yegewel (the “Meditaor”) filed a Final

Report of Loss Mitigation/Mortgage Modification Mediator [D.E. 81] reflecting that the Parties

did not reach an agreement (the “Final Report”).



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       14.     Pursuant to the confirmed Plan, “[I]f the lender and the debtor fail to reach a

settlement, then no later than 14 calendar days after the mediator’s Final Report is filed, the

debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender

has filed a Proof of Claim), without limiting the Debtor’s right to object to the claim or proceed

with a motion to value; or (b) provide that the real property will be “treated outside the plan. If

the property is “treated outside the plan,” the lender will be entitled to in rem stay relief to

pursue available state court remedies against the property. Notwithstanding the foregoing,

lender may file a motion to confirm that the automatic stay is not in effect as to the real

property.”

       15.     The second mortgage modification mediation has been concluded and it has been

approximately forty (40) days since the issuance of the Denial Letter and, to date, the Debtor still

has not filed a modified plan.

       16.     Secured Creditor asserts that two (2) years have lapsed since the inception of this

instate case and that the Property is diminishing and decreasing in value will continue to do so by

virtue of the continued use of the Property and given the current market history in the area in

which the Property is located.

       17.     Secured Creditor has expended additional attorney’s fees associated with the

filing of this instant Motion and seeks recovery of same.

       18.     Secured Creditor seeks entry of an order directing Debtor to (i) file a modified

plan that either conforms to Secured Creditor’s claim or denotes that the subject property is to be

“treated outside the Plan” or that the subject property is to be surrendered to Secured Creditor,

(ii) to pay Secured Creditor reasonable attorney’s fee associated with the prosecution of this




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Motion, and (iii) allows Secured Creditor to pursue its in rem remedies in state court against the

subject property.

       19.     A copy of a proposed Order is attached hereto as Exhibit “B”.

       WHEREFORE, Secured Creditor, prays that this Court grant the Motion to Compel

Debtor to file a modified Plan, awarding attorney’s fees for the prosecution of this Motion, and

granting any further relief that this Court deems just and proper.

Dated this 12th day of July, 2018.

                                                      Respectfully submitted,

                                                      GHIDOTTI ǀ BERGER, LLP
                                                      Attorneys for Secured Creditor
                                                      3050 Biscayne Blvd. - Suite 402
                                                      Miami, Florida 33137
                                                      Telephone: (305) 501.2808
                                                      Facsimile: (954) 780.5578

                                                      By:    /s/ Chase A. Berger
                                                             Chase A. Berger, Esq.
                                                             Florida Bar No. 083794
                                                             cberger@ghidottiberger.com




               CERTIFICATE PURSUANT TO LOCAL RULE 9011-4(B)(1)

       I certify that I am admitted to the Bar of the United States District Court for the Southern

District of Florida and I am in compliance with the additional qualifications to practice in this

court as set forth in Local Rule 2090-1(A).


                                              By:     /s/ Chase A. Berger
                                                          Chase A. Berger, Esq.




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 12, 2018, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF.

       I also certify that the foregoing document is being served this day, either via transmission

of Notice of Electronic Filing generated by CM/ECF or by first class U.S. Mail, upon:


Debtor
Arnold Michel
P.O. Box 640803
Miami, FL 33164

Debtor’s Counsel
Jose P. Funcia, Esq.
9555 N Kendall Drive, #211
Miami, FL 33176

Trustee
Nancy K. Neidich
P.O. Box 279806
Miramar, FL 33027

U.S. Trustee
Office of the US Trustee
51 S.W. 1st Avenue - Suite 1204
Miami, FL 33130

                                             By:     /s/ Chase A. Berger
                                                         Chase A. Berger, Esq.




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                                                                                                                               Suite 400
                                                                                                                       Irving, TX 75038
                                                                                                               Toll Free 866-581-4514
                                                                                                                     Fax 800-878-4645
                                                                                                                www.bsifinancial.com




May 30, 2018

ARNOLD MICHEL
DIAZ AND ASSOC LAW F 9370 SUNSET DR STE 110
MIAMI        FL 33173


Re: Result Following Review of Complete Loss Mitigation Application
Mortgage Loan #:
Property Address: 540 NE 171ST TERR
NORTH MIAMI BEACH FL 33162

Dear ARNOLD MICHEL:

Thank you for contacting us about your mortgage. Based on a careful review of the information you
provided to us on 05/08/18, we are offering you a “Consent Judgment”. There is an incentive up to
$6000.00 for your cooperation.




Additional Information and Legal Notices



You were not approved for a Loan Modification

You were evaluated for mortgage payment assistance based on the eligibility requirements of HMC
ASSETS, LLC SOLEY IN ITS CAPACITY AS SEPARATE TRUSTEE OF COMMUNITY DEVELOPMENT FUND II
TRUST, the owner of your mortgage loan. HMC ASSETS, LLC SOLEY IN ITS CAPACITY AS SEPARATE TRUSTEE
OF COMMUNITY DEVELOPMENT FUND II TRUST requirements for determining borrower eligibility for a
loan modification include determining whether the borrower is experiencing a temporary or permanent
hardship.




Licensed as Servis One, Inc. dba BSI Financial Services.
BSI Financial Services NMLS # 38078. Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).
If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a
discharge of your personal liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that
obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand
for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such
bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.


                                                            EXHIBIT "A"                                                          Page 1 of 4
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                                                                                                                               Suite 400
                                                                                                                       Irving, TX 75038
                                                                                                               Toll Free 866-581-4514
                                                                                                                     Fax 800-878-4645
                                                                                                                www.bsifinancial.com


Based on our review of your financial circumstances, although you may have a hardship, you are not
eligible for the following loan modification option(s):


    Your monthly income was calculated at $ 4,548.67. The investor of your loan does not participate in
     contribution income. The investor is HMC ASSETS, LLC SOLEY IN ITS CAPACITY AS SEPARATE TRUSTEE
     OF COMMUNITY DEVELOPMENT FUND II TRUST

             Excessive Arrears
             Insufficient Income
             Borrower previously received a MOD and did not perform



Right to Appeal

You have the right to appeal our determination not to offer you the loan modification option(s) listed
above. If you would like to appeal, you must contact us in writing at the address provided below, no later
than June 15, 2018, and state that you are requesting an appeal of our decision. You must include in the
appeal your name, property address, and mortgage loan number. You may also specify the reasons for
your appeal, and provide any supporting documentation. Your right to appeal expires June 15, 2018. Any
appeal requests or documentation received after June 15, 2018 may not be considered.

If you elect to appeal, we will provide you a written notice of our appeal decision within 30 calendar days
of receiving your appeal. Our appeal decision is final, and not subject to further appeal.

If you elect to appeal, you do not have to accept this offer of “Consent Judgment” until resolution of the
appeal. If we determine on appeal that you are eligible for a loan modification Trial Period Plan, we will
send you an offer for that Trial Period Plan. In that case, you may choose to accept the current offer to
pursue a short sale or you may notify us of your intent to accept the new Trial Period Plan offer by
contacting us at 1-800-327-7861 or in writing no later than 14 calendar days from the date of the appeal
decision.

                                                        BSI Financial Services
                                                        314 S. Franklin Street
                                                               2nd Floor
                                                         Titusville, PA 16354




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BSI Financial Services NMLS # 38078. Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).
If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a
discharge of your personal liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that
obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand
for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such
bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.

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                                                                                                               Toll Free 866-581-4514
                                                                                                                     Fax 800-878-4645
                                                                                                                www.bsifinancial.com


Any unpaid interest, and other unpaid amounts, such as escrows for taxes and insurance, will continue to
accrue on your mortgage loan during the appeal.

Sincerely,

MIRRIE MITCHELL
Loss Mitigation Specialist
1-866-949-0136 Ext. 3731

BSI Financial Services
NMLS # 38078; # 842052


If an attorney represents you, please refer this letter to your attorney and provide us with the attorney’s name,
address and telephone number.




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If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a
discharge of your personal liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that
obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand
for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such
bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.

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                                                                                                               Toll Free 866-581-4514
                                                                                                                     Fax 800-878-4645
                                                                                                                www.bsifinancial.com




                        Qualified Written Request - Notice of Error or Information Request

Under the Real Estate Settlement Procedures Act, a qualified written request is a written correspondence
(other than notice on your payment coupon or other payment medium supplied by us) regarding the
servicing of your loan which identifies your name, account number, and the specific reasons for the
request, such as an error on your loan account or a request for information. Any qualified written request
you wish to submit must be sent to:

                                                      BSI Financial Services
                                                Attn: Qualified Written Requests
                                                      314 S. Franklin Street
                                                             2nd Floor
                                                       Titusville, PA 16354

                                      Equal Credit Opportunity Act Disclosure Notice


As part of the review for mortgage assistance, BSI may order an appraisal or valuation to determine the
property’s value and charge you for this appraisal or valuation. We will promptly give you a copy of the
appraisal, regardless of whether the Loss Mitigation Application is approved, denied, incomplete or
withdrawn. You can pay for an additional appraisal for your own use at your own cost.


                                                                                                                        T06_T98-03282016_CA03232016




Licensed as Servis One, Inc. dba BSI Financial Services.
BSI Financial Services NMLS # 38078. Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).
If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a
discharge of your personal liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that
obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand
for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such
bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.

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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
                                www.flsb.uscourts.gov
In re:
                                                                        Case No.: 16-20229-LMI
                                                                                     Chapter 13
ARNOLD MICHEL,

      Debtor.
_______________________/

                         ORDER GRANTING MOTION TO
                    COMPEL DEBTOR TO FILE A MODIFIED PLAN

         THIS MATTER came before the Court upon Secured Creditor BSI Financial Services,

as Servicing Agent for HMC Assets, LLC, Solely in its Capacity as Separate Trustee of

Community Development Fund II Trust [D.E. __] (the “Motion”), and the Movant by submitting

this form of order represents that the Motion was served on all parties as required by Local Rule

4001-1, that the 14-day response time provided by that rule has expired, that no one has filed, or

served on the Movant, a response to the Motion, and that the relief to be granted in this order is

the identical relief requested in the Motion. Upon review of the Motion and the record, the Court

finds that the Motion should be granted. Accordingly, it is


                                      EXHIBIT “B”
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                                                                           Case No.: 16-20229-LMI


       ORDERED:

       1.       The Motion is GRANTED.

       2.       The Debtor is directed to file, no later than seven (7) days from the date of this

order, a modified plan that either conforms to the Secured Creditor’s Proof of Claim [Claim 2-1]

or provides that the subject property will be “treated outside the plan.

       3.       If the modified plan provides that the subject property is “treated outside the

plan,” then Secured Creditor will be entitled to in rem stay relief to pursue available state court

remedies against the property.

       4.       Secured Creditor is awarded reasonable attorney’s fees associated with the

prosecution of the Motion in the amount of $_______ and the Debtor is directed to reimburse

Secured Creditor within seven (7) days from the date of this order.

       5.       The Court shall retain jurisdiction over this matter to consider and enter such

further relief necessary to enforce the terms and conditions of this Order.

                                                 ###

Submitted by:

Chase A. Berger, Esq.
Florida Bar No. 083794
cberger@ghidottiberger.com
GHIDOTTI ǀ BERGER, LLP
3050 Biscayne Blvd. - Suite 402
Miami, FL 33137
Telephone: (305) 502-2808
Facsimile: (954) 780-5578

Attorney Chase Berger is directed to serve copies of this Order on all interested parties and file a
Certificate of Service within three (3) days from the entry date of this Order.




                                                 -2-
